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VIA ECF October 12, 2020

Honorable Robert W. Lehrburger, U.S.M.J.
U.S. District Court of New York

United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-cv-4327

Dear Judge Lehrburger:

Please accept this letter application on behalf of the Plaintiffs in connection with
Plaintiffs’ pending motion for partial summary judgment. We write to respectfully seek
permission from the Court to include three (3) additional exhibits for the Court’s consideration as
part of Plaintiffs’ Reply, namely (1) Defendant David Gitman’s sworn deposition testimony, (2)
each of the parties’ individual tax form Schedule K-1 from the Federal Income Tax Return of
Plaintiff Cooper Square Ventures, LLC; and (3) the Plaintiff Companies 401K/Distribution
report pulled from the Plaintiff Companies’ Quickbooks file.

The within request will assist the Court as the Affidavit of David Gitman (“Gitman
Affidavit”), which was included in Defendants’ opposition to the pending motion, substantially
contradicts Mr. Gitman’s earlier sworn deposition testimony, which was not contemplated and/or
expected by Plaintiffs. Palazzo ex rel. Delmage v. Corio, 232 F.3d 38, 43 (2d Cir. 2000) ("[I]n
opposing summary judgment, a party who has testified to a given fact in his deposition cannot
create a triable issue merely by submitting an affidavit denying the fact.")

While Plaintiffs continue to maintain that their pending motion eliminates all genuine
issues of material fact, the relevant portions of the proposed three (3) exhibits will dispose of
those issues that Defendants maintain are in dispute, and will assist the Court in deciding
whether any issues are appropriate for trial.

To the extent that the within application is granted, Plaintiffs have no objection to
Defendants filing a Sur-Reply, if they so request, provided same is limited in scope.
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Thank you for Your Honor’s consideratio
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Cc: — All counsel of record (via ECF)
